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                      DECLARATION
                     OF JEN-FENG LEE




                     DECLARATION OF JEN-FENG LEE
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       Attorneys for Plaintiff
   9   OCM GROUP USA INC.
  10

  11                       UNITED STATES DISTRICT COURT
  12                     CENTRAL DISTRICT OF CALIFORNIA
  13

  14   OCM GROUP USA INC.                            Case No. 2:19-CV-08917-SB (KSx)
  15
                    Plaintiff,                       Plaintiff’s Counsel Declaration
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  17
             vs.

  18   LIN’S WAHA INTERNATIONAL
  19   CORP, a New York corporation; and
       DOES 1 - 10,
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  21                Defendants.
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             My name is Jen-Feng Lee. I go by Jeff Lee. I made the following
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  26   statements based upon my own knowledge and best recollection. I would testify
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       competently and truthfully to the best of my ability if called as a witness.
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       ____________________________________________________________________________________

                                  Plaintiff’s Counsel Declaration
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         1. On behalf of OCM, I sent out warning notices to merchants/vendors who
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             are selling XPP branded products (as well as other brands that OCM has
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             the exclusivity in the U.S.). I also obtained acknowledgement from
   4         merchants/vendors to respect the OCM’s exclusivity with the XPP brand.
   5         These notices and acknowledgements are included in Exhibits 8 and 9 of
   6         Plaintiff OCM’s MSJ filing, ECF #32-10 and #32-11.
   7     2. Defendant Lin’s Waha (“LW”) initially disputed OCM’s standing to assert
   8         the XPP trademarks, as noted in page 3 of the Rule 26(f) Joint Report
   9         (ECF #15).
  10     3. Defendant LW’s factual assertions in the Joint Report later turned about to
  11         be untrue, at lines 4 – 10 of page 3:
  12         (a) LW is authorized by OCM’s representative (Xeuxin Chen) to produce
  13            and sell the XPP branded products. No evidence was ever produced to
  14            prove this fact.
  15         (b) LW claimed to have a license. No evidence was produced to prove this
  16            fact.
  17         (c) LW claimed to obtained its goods from authorized distributors in
  18            China. This contradicts the fact of the OCM’s exclusivity: there is NO
  19            authorized distributors in China that can sell the XPP branded products
  20            to U.S.
  21     4. OCM presented two damages theories: disgorgement and lost profit. The
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             disgorgement theory is a straightforward computation of the illicit profit of
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             $24,847 (“$24K) based upon the documents Defendant produced. The

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             second one is OCM’s loss profit. This is the “profit OCM would have

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             made but for LW’s infringement” calculation based upon OCM’s

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             operation model; the number came out to be $82K.
         5. In terms of litigation advocacy, OCM is well justified in attempting to seek
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             higher compensatory award. But in reality, OCM is acutely aware that the
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                                   Plaintiff’s Counsel Declaration
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             $24K number would be provable to a reasonable certainty and not
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             challenged as being speculative, especially given that there are other
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             infringers that sold unauthorized XPP products.
   4     6. With the $24K in mind, OCM treaded this litigation lightly. OCM has no
   5         reason to “throw good money after bad”, so to speak, if its recovery is
   6         likely limited to the $24K amount.
   7     7. Aware of this matter being a low damages case, parties started talking
   8         settlement early. In or around December, 2019 (shortly after the case filing
   9         date of 10/16/2019), parties failed to reach a settlement of between $10K
  10         and $1K, as reflected in LW’s New York counsel’s email dated 12/4/2019,
  11         5:35 PM: “If the issue at hand is money, I am sure there is a reasonable
  12         settlement between your initial demand of $10,000 and our client's counter of
  13         $1,000.” (LW’s New York counsel was Mr. Gaston Kroub.)
  14     8. In Mr. Kroub’s email dated 12/5/2019, 9:56 AM (as part of the early
  15         settlement discussion between parties), he appeared not to challenge the
  16         liability but simply disputed the willfulness portion. Mr. Kroub’s email
  17         stated that LW no longer sold the accused products that “I want to address
  18         the claim that LW is a willful infringer. According to my client, there was no

  19         intentional infringement”.

  20     9. Parties engaged in two rounds of court-ordered mediations hosted by
  21         Mediator Alan Kindred. First mediation on April 20, 2020 and second
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             mediation on January 27, 2021.
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         10.In the first mediation, under the guidance of Mr. Kindred, a payment

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             amount $10K was agreed, though parties did not agree on the exact

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             payment mechanism. OCM asked LW to pay $10K for settlement and

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             dismissal of action. LW, however, wished to “pay” the $10K by making
             purchase of the XPP branded products from OCM; LW’s proposal was for
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             OCM to receive the $10K from LW over a period of time. OCM, in light
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       ____________________________________________________________________________________

                                   Plaintiff’s Counsel Declaration
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   1
             of the market confusion caused by LW’s unauthorized sales of the XPP
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             branded products, refused such “paying $10K by purchasing” model.
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             (There was also suggestion of a combo deal: LW paying some cash and
   4         “purchase as paying” for other amount; no deal was reached.)
   5      11.In the second mediation, OCM’s demand went up to $20K. Mediator
   6         suggested a lower amount in the range of LW paying $13K. No settlement
   7         was reached.
   8      12.After all the MSJ papers were submitted, some sporadic settlement
   9         discussion happened between parties (via counsel) in the few days prior to
  10         the March 5, 2021 hearing. In the discussion, LW counsel suggested,
  11         pending approval from client, a stipulated injunction along with a cash
  12         payment of no more than $1,000. In response, OCM demanded $25K
  13         payment mainly to cover the amount of legal fees spent. No settlement was
  14         reached.
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          I declare under penalty of perjury under the laws of the U.S. that the
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       foregoing is true and correct.

  19   Dated: July 2, 2021                                          Executed at: Industry, CA
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                                                         By: /s/Jen-Feng Lee
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                                                              Jen-Feng Lee
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                                  Plaintiff’s Counsel Declaration
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